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CLEHK, us DrsT otto
Piaintifr, W. D. OF ltv JACKSON
v. Cr. No. 05-10007-T/An

ER|C ELMO PETERSON,

Defendant.

 

ORDER ON ARRA|GNl\/|ENT

 

This cause came to be heard on June 24, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NAN|E: Dianne Smothers, Asst. Federal Defender
ADDRESS:

TELEPHONE:

The defendant, through counse|, waived formal arraignment and entered a plea of not
guilty.

A|| motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, who is not in custody, may stand on his/her present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody of the

 

U.S. |V|arshal.
,____.
S. //W)Md @.-}
S. THOl\/IAS ANDERSON
United States Magistrate Judge
Charges: felon in possession of a firearm -

Assistant U.S. Attorney assigned to case: Powel|
Ru|e 32 was not waived.

Defendant's age: q/

This document entered on the docket sheet in compliance

with Ruie 55 and/or 32(b) Fech on O(F ~'.,? 1 ~@§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CR-10007 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

J ames W. PoWell

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M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

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Honorable J ames Todd
US DISTRICT COURT

